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Attorney for Plaintiff


                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                   Case No.: 2:17-cv-00597-DS

                  Plaintiff,
 v.                                               NOTICE OF SETTLEMENT


 Carter’s Retail,                                 Assigned to Judge David Sam

                  Defendant.

        PLEASE TAKE NOTICE that, Plaintiff, Trevor Kelley, and Defendant, Carter’s Retail

(collectively, the “Parties”), hereby give notice that the Parties have reached settlement in this

Action. The Parties anticipate filing dismissal papers within the next thirty (30) days. In

conformance with DUCiv R 41-1, the Parties respectfully request the Court stay all deadlines and

other matters in this Action so the Parties can finalize settlement documents.




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  RESPECTFULLY SUBMITTED on this 23rd day of August, 2017.

                                            /s/ James K. Ord, III
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                                            CERTIFICATE OF SERVICE
       I hereby certify that on this 23rd day of August, 2017 I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record:


Christian J. Rowley
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Attorney for Defendant


/s/ Sydney Rogers*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)
